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              EXHIBIT D
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 1                  UNITED STATES BANKRUPTCY COURT
 2                  CENTRAL DISTRICT OF CALIFORNIA
 3                          LOS ANGELES DIVISION
 4     ____________________________
 5     In re:                                    )
 6     SCOOBEEZ, et al.                          )
 7      Debtors and Debtors                      )    Case Nos.
 8      in Possesion.                            )    2:19-bk-14991-WB
 9     vs.                                       )    2:19-bk-14997-WB
10     ____________________________)
11
12               VIDEOTAPED DEPOSITION OF JAMES WILSON
13                TAKEN BY A CERTIFIED COURT REPORTER
14                             LAS VEGAS, NEVADA
15                       TUESDAY, JANUARY 28, 2020
16                                at 10:09 a.m.
17
18
19
20
21
22
23     Reported By: LISA MAKOWSKI, CCR 345, CA CSR 13400
24     JOB NO:     3955993
25     PAGES 1 - 333

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 1     BY MS. NASSIRI:
 2           Q.     Okay.      And are you part of the North
 3     America DSP team now?
 4           A.     Yes.
 5           Q.     So in -- for the recruiting of 2.0s, you
 6     said owners with leadership -- that can show
 7     leadership.
 8           A.     I said -- I said hire and develop
 9     ownership and bias for action.
10           Q.     Okay.
11           A.     And also grit.
12                         .




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13     BY MS. NASSIRI:
14           Q.     Ballpark.        Okay.
15                  We talked about the qualifications for a
16     DSP under the 2.0 system.
17                  What kind of due diligence is done on a
18     potential DSP to determine whether they have these
19     qualities that Amazon Logistics is looking for?
20                  MS. FITZPATRICK:             Objection, form.
21                  THE WITNESS:          So for a -- a 2.0, when
22     we're creating a 2.0, they'll -- the partner will
23     go through a background check, a credit check, and
24     then they'll go through a process where they're
25     essentially interviewed at multiple stages.                     So

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 1     station is -- is what Amazon is -- is targeting now
 2     as opposed to a larger DSP?
 3                  MS. FITZPATRICK:            Objection, misstates
 4     testimony.
 5                  THE WITNESS:         I mean, I -- I can give --
 6     I mean, I -- I think it's similar to -- to what I
 7     just said.       I think an owner-operator in the
 8     station can -- can better manage those metrics and
 9     have a -- really what I would describe as a -- a --
10     a better connection with drivers that help drive
11     those metrics.
12     BY MS. NASSIRI:
13           Q.     Is the idea that a 2.0 owner-operator
14     who's on the ground at the station will only
15     operate out of one station?
16           A.     For -- for new owners onboarded?
17           Q.     Yes.
18           A.     Yes.     That is -- we're very clear on that
19     on the Logistics@amazon.com site, the expectation
20     of operating one station.
21           Q.     Are there any 2.0s that operate out of
22     more than one station currently?
23           A.     There are migrated 2.0s --
24           Q.     Okay.
25           A.     -- that operate at multiple stations.

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 1             Q.   So tell me a little bit about that.
 2     How -- if -- if you were a 1.0 -- well, strike
 3     that.
 4                  So you just said that while new 2.0s, the
 5     idea is they operate out of one station, some of
 6     the migrated 2.0s who were at one time 1.0s may
 7     operate out of more than one station.
 8                  Do you know how many stations those 1.0s
 9     migrated to 2.0s are operating out of?                 What's the
10     maximum number?
11             A.   I believe ballpark 12 to 13.
12             Q.   Okay.     And so -- and I assume that the
13     2.0 DSP has a -- an agreement or a actual contract
14     that looks different than a 1.0 agreement; is that
15     correct?
16             A.   Yes.
17             Q.   So how -- do changes have to be made to
18     the 2.0 agreement by the fact that it's a migrated
19     1.0?
20                  MS. FITZPATRICK:            Objection, form.
21     BY MS. NASSIRI:
22             Q.   If they work out of 12 to 13 stations,
23     how -- how would they satisfy the requirements of a
24     2.0?
25                  MS. FITZPATRICK:            Objection, form.

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 1                  THE WITNESS:         I'm not sure -- can --
 2     can -- I'm not sure what -- what you're asking me
 3     there.
 4     BY MS. NASSIRI:
 5           Q.     Yeah.     So -- so we talked about the
 6     qualities of a 2.0.
 7                  How does that work for a migrated 2.0?
 8     If they have more than one station and presumably
 9     more drivers and more routes, how -- how -- how is
10     that -- how does that manifest itself --
11                  MS. FITZPATRICK:            Objection.
12     BY MS. NASSIRI:
13           Q.     -- in the Amazon system?
14           A.     How -- how does -- how does what manifest
15     itself?




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25           Q.     Okay.     Okay.      So the difference really is

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 1     just the number of stations they're operating out
 2     of.
 3           A.     I -- I think that's fair to say that's
 4     one difference.
 5           Q.     Okay.     Are the owners required to do
 6     something different because they can't be in more
 7     than one place at one time?                So how do they -- are
 8     they required to physically be at the stations
 9     certain hours of the day or per week, or are there
10     any of those types of requirements put on the
11     owners of a migrated 2.0?
12           A.     There's -- there's no requirement for the
13     amount of time, as an example, that they have to be
14     present in the station in the 2.0 agreement for --
15     for any 2.0.
16           Q.     Okay.     But is there an expectation in the
17     2.0 agreement that the owner-operator is boots on
18     the ground at the station?
19           A.     In -- in the actual 2.0 agreement, I --
20     my understanding is there's no requirement that you
21     have boots on ground --
22           Q.     Okay.
23           A.     -- in the actual legal agreement.
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 9           Q.     Okay.     For the 1.0s that did not migrate
10     to the 2.0 structure and those were terminated --
11     we talked about some of those were terminated, was
12     it because they didn't meet the 2.0 criteria, the
13     structure?
14                  MS. FITZPATRICK:            Objection; vague, calls
15     for speculation, incomplete hypothetical.
16                  THE WITNESS:         There -- there's multiple
17     reasons we could decide to terminate a agreement.
18     I don't think there's any one specific reason.
19     BY MS. NASSIRI:
20           Q.     Okay.     For the 1.0s, the 30 or so 1.0s
21     that are currently in the system, is the idea that
22     they -- all of them be phased out ultimately to be
23     terminated?
24           A.     I think it's fair to say that just
25     logistically having multiple contracts is just an

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 1           Q.     Okay.     So of the 30 current 1.0s that are
 2     in the system, approximately, do you know how many
 3     of them have been turned down to transition to a
 4     2.0 that -- that had asked to be?
 5                  MS. FITZPATRICK:            You're -- you're asking
 6     of the 30 that remain, how many asked and were
 7     rejected?
 8                  MS. NASSIRI:         Correct.
 9                  THE WITNESS:         How -- how many -- so
10     just -- just to clarify, this would be a population
11     that originally declined initially because anyone
12     that originally said yes, we would have migrated
13     after June of 2018.
14     BY MS. NASSIRI:
15           Q.     Okay.     And so then there was a group that
16     either -- that declined or could there have been a
17     group that said nothing, that didn't respond?
18           A.     I -- I guess -- I guess in theory
19     potentially.
20           Q.     Okay.
21           A.     I -- I -- I -- I think it's fair to say
22     that since January 2019, we haven't migrated a
23     single DSP from 1.0 to 2.0.
24           Q.     Okay.
25           A.     And anyone that -- that requested was

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 1     denied.
 2            Q.    Why is that?
 3            A.    I -- I would say basically that in the --
 4     in the past, the rubric that was used to determine
 5     whether a DSP was migrated needed to be reviewed.
 6     And we're still kind of developing that framework
 7     to determine -- to make sure we're making smart
 8     decisions.
 9            Q.    So okay.      You're saying that that rubric
10     may not have been fully developed initially when
11     1.0s requested to be migrated to the 2.0 program?
12            A.    Well, the original wasn't a -- it was we
13     asked DSPs; right?
14            Q.    Right.
15            A.    So -- so yes.          Like, basically I think it
16     was a come one, come all.              And as we've evolved,
17     we've kind of changed our view to maybe we should
18     build a better framework.
19            Q.    Okay.     Who -- who -- who makes those
20     decisions about what that framework should look
21     like in terms of being able to migrate from 1.0 to
22     2.0?
23            A.    I don't -- I don't know if there's any
24     single person.        That recommendation would be driven
25     through -- through me and my -- my team.

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 1            Q.    Okay.     So -- and I realize that the
 2     initial announcement from Amazon and the
 3     opportunity to migrate from 1.0 to 2.0 happened
 4     before you became a part of this team.
 5                  But is it fair to say that if the 1.0s
 6     didn't jump at that opportunity then, then there
 7     was different requirements looked at or -- or
 8     criteria looked at to determine whether they could
 9     migrate?
10                  MS. FITZPATRICK:            Objection, form.
11                  THE WITNESS:         I can only speculate before
12     my time.     I can say that for my time since
13     January 2019, we haven't migrated a single 1.0 to
14     2.0.
15     BY MS. NASSIRI:
16            Q.    Okay.     And -- so that's about a year that
17     you've been in this position.
18                  Has anyone -- has any 1.0 that initially
19     said no but then changed their mind and wanted to
20     be considered as a 2.0, have -- have -- have any
21     come forward since that time?
22            A.    I -- I'm -- yes, I'm sure -- yes,
23     there -- there have been instances where a DSP has
24     requested through their -- their on-the-road team
25     to migrate.

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 1           Q.     Okay.     And you're saying since you've
 2     been involved since January --
 3           A.     Since -- since January 2019.
 4           Q.     You have not approved any such migration.
 5           A.     Correct.      We -- like, we have no -- no
 6     DSP has actually migrated and --
 7           Q.     I just want to know if anyone asked and
 8     said -- was said no.
 9           A.     Yeah.     Yes.     People have asked -- people
10     have asked.       I -- I -- I can't recall specifically
11     which DSPs.
12           Q.     Sure.
13           A.     But I -- I know that -- that there have
14     been requests from -- from specific on-the-road
15     managers saying, hey, this DSP is asking about
16     migrating to 2.0.         So there are a number of DSPs
17     that have asked.         We haven't really developed a
18     framework yet, and so the answer is basically we're
19     not migrating right now because we don't have a
20     framework to how we want to think about it.
21           Q.     Okay.     Is that framework being developed?
22           A.     Yes.
23           Q.     And are you the person who is working on
24     that framework?
25           A.     My team.

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 1           Q.     Okay.
 2                  MS. NASSIRI:         This is going to be
 3     Exhibit 4.
 4                  (Exhibit 4 was marked for
 5                  identification.)
 6     BY MS. NASSIRI:
 7           Q.     It's pretty short.             It's a -- it's an
 8     email chain.        At the bottom it starts -- it's from
 9     you to Eric Swanson and David Ojeda dated Friday,
10     October 4th at 9:16 a.m.             And the very top email is
11     from you to David Ojeda and Eric, also on
12     October 4th at 9:54 a.m.
13                  Take a look and tell me if you recognize
14     this email.
15           A.     Yes.
16           Q.     Okay.     And it -- it looks like you asked
17     Eric Swanson and David Ojeda, "Do you know the back
18     story on why Scoobeez never migrated to 2.0?"
19                  So just curious why these two individuals
20     would be who you asked, Eric Swanson and David
21     Ojeda?     Why would you have asked Eric Swanson that
22     question?
23           A.     Well, Eric's who I report to.
24           Q.     Okay.
25           A.     So that -- that's why I included him.

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 1           Q.     Okay.
 2           A.     And David was the, I guess, point of
 3     contact, kind of leading the migration effort.
 4           Q.     Okay.     For all stations, not just the
 5     ones he was on the road for?
 6           A.     In -- in June of 2018, yes.
 7           Q.     Okay.     Okay.      And do you know why -- what
 8     triggered you to write this email in October of
 9     2019, so about three months ago?
10           A.     I -- I don't recall specifically.                I
11     don't recall specifically.
12           Q.     Okay.     So Eric responds, "Two issues.
13     They had the highest route negotiated rate so would
14     have taken a 5 percent" -- I -- I don't know what
15     that means but I assume a "5 percent haircut to
16     move to 2.0."
17                  So let's talk about that first.               What
18     does that mean, "highest route negotiated rate so
19     would have taken a 5 percent haircut"?
20           A.     The way I interpreted that statement --
21           Q.     Sure.
22           A.     -- was basically what Eric believed was
23     the factor was that if Scoobeez migrated, they
24     would be paid less for their work than they had
25     individually negotiated in the 1.0.

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 1           Q.     Okay.     And then it says, "They"
 2     own/lease -- "own/lease a lot of their vehicles and
 3     conversion to Armada was a nonstarter."
 4                  So what does that mean?
 5           A.     My interpretation --
 6           Q.     Sure.     I know you didn't write that.
 7           A.     Yeah, yeah.        My interpretation of what he
 8     meant was that they had already signed like a lease
 9     with another provider --
10           Q.     Okay.
11           A.     -- so that if they were to -- to go to
12     the 2.0, the value of -- of having the option to
13     sign a lease with Armada wasn't -- wasn't any value
14     because they already had a lease signed.
15           Q.     So what's Armada?
16           A.     Armada is what we refer to as our -- our
17     lease program that we offer to -- to -- to DSPs.
18           Q.     2.0s?
19           A.     Correct.
20           Q.     Okay.     Was that -- was that lease program
21     also in place for the 1.0s?
22           A.     Armada is like a brand.
23           Q.     Okay.
24           A.     The actual company we -- we partner with,
25     like I guess in theory any company could partner

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 1     with --
 2            Q.    Okay.
 3            A.    -- but the actual program that we
 4     negotiated with on the Armada program was
 5     specifically for 2.0s.
 6            Q.    So Armada, is that a brand of car, a
 7     brand of van or truck?
 8            A.    It's -- it's a brand of program.
 9            Q.    Oh.
10            A.    It's just how we -- it's -- we can call
11     it the Armada program.
12            Q.    Okay.
13            A.    It's kind of like a code name basically.
14            Q.    Okay.      Is Armada -- does Amazon own the
15     Armada brand?
16            A.    No.
17            Q.    Okay.      And so am I understanding this
18     correctly that Amazon Logistics negotiates certain
19     lease rates for the vans or trucks for the DSPs to
20     use?
21            A.    Yes.      But one -- one of the, I guess,
22     benefits --
23            Q.    Sure.
24            A.    -- of the 2.0 program is that we go out
25     and -- and we negotiate certain rates with

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 1     value-added service providers.                  In this specific
 2     case, the Armada program that we negotiated
 3     specifically are vehicle leases --
 4           Q.     Yeah.
 5           A.     -- is an example of that.
 6           Q.     Okay.     But why would it matter to Amazon
 7     that, let's say, Scoobeez had already leased a lot
 8     of their vehicles?         And could it -- I understand
 9     that there may be a cheaper rate for Armada for
10     them to use.       But what would be -- what would be
11     the reason that this would be why they wouldn't
12     have migrated?
13           A.     My interpretation of --
14           Q.     Sure.
15           A.     -- what he is saying is that if you
16     already have leases signed, like, the value of
17     moving to 2.0, like, you don't -- like, you're
18     not -- it's not helping you negotiate a deal.
19     You've already made the deal.
20           Q.     So when it -- when he -- when says that
21     was a nonstarter, he means for -- for Scoobeez, not
22     for Amazon.       Meaning Scoobeez would say that's a
23     nonstarter, we've already gotten our -- our cars,
24     our -- our trucks.         It's not a nonstarter for
25     Amazon to agree to make them a 2.0?

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 1           A.     That is how I interpreted it.
 2           Q.     Okay.
 3           A.     Basically it was a nonstarter for
 4     Scoobeez.
 5           Q.     Got it.      Okay.
 6                  And then he writes, "The route rate is
 7     99.9 percent of the issue."
 8                  Again, is it your understanding he's
 9     talking about from Scoobeez' perspective?
10           A.     It -- it's my understanding that, yeah,
11     this entire section of the email is just talking
12     about Scoobeez' perspective.
13           Q.     Okay.     So that Scoobeez -- is it your
14     understanding that -- didn't want to migrate to a
15     2.0 because they would have had to take a 5 percent
16     haircut and they wouldn't get the benefit of the
17     Armada program?
18           A.     That is my interpretation --
19           Q.     Okay.
20           A.     -- when I read this.
21           Q.     Okay.     Okay.      So then in the next part of
22     the chain, David Ojeda chimes in.                    He says, "That's
23     correct for 2018 but in March, April of 2019, there
24     was an email request of them trying to convert to
25     2.0 but we did not approve them or any other DSPs

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 1     commitment tool is just a forecast.
 2           Q.     Sure.
 3           A.     So it's -- it's just a planning tool.                     So
 4     there's -- there's no guarantee or requirement to
 5     run that.
 6           Q.     Okay.
 7           A.     So there's going to be DSPs that run more
 8     than what's given in the route commitment tool.
 9     There's going to be DSPs that run less.
10           Q.     So this is just testifying that they --
11     they were -- just ended up being allocated more
12     routes than the -- that the forecast had
13     anticipated for them?
14           A.     Basic -- basically, yes.
15           Q.     But it still -- in this time period,
16     which would be when the route commitment tool is
17     launched in September, they were not ramping up,
18     though, in terms of above their baseline routes?
19           A.     Correct, correct.              So what was loaded was
20     baseline.        It wasn't -- so what was loaded in the
21     route commitment tool were baseline routes.
22           Q.     But they got more than that.
23           A.     Correct.       So -- so -- correct.
24           Q.     Okay.      Okay.      So paragraph 7.       Why don't
25     you tell me about this performance metrics for DSPs

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 1     where it says that "These records are created and
 2     updated at or near the time the performance metrics
 3     are measured and relied upon determining the
 4     identity the of DSP with whom Amazon does
 5     business."
 6                  So this chart in paragraph 7 talks about
 7     Scoobeez' performance metrics from Week 27 through
 8     the present.       And we -- the present would be, I
 9     imagine, the date you signed this, November 11th,
10     on or about that date.
11                  Do you know why Week 27 was chosen?
12             A.   That's when we launched our new
13     performance scorecard.
14             Q.   Oh, okay.       We will talk about scorecards
15     later.
16                  Okay.     So can you just walk me through
17     just like, say, the first line --
18             A.   Sure.
19             Q.   -- what DAOU means, and what this is --
20     what -- what is this communicating, this
21     performance percentile?
22                  MS. FITZPATRICK:            Objection to form.
23                  THE WITNESS:         So DAU1 is -- is a code for
24     a station.
25     / / /

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 1     BY MS. NASSIRI:
 2             Q.   Okay.
 3             A.   So that's for a specific delivery station
 4     or we -- you referred to it as a hub.
 5             Q.   Okay.
 6             A.   The number of DSPs, that's how many DSPs
 7     at this time operated in that DAU1 station.
 8             Q.   Okay.
 9             A.   And that over the time period from
10     Week 27 to the present, Scoobeez was in the --
11     the -- the top 63 percent of performance of those
12     DSPs.
13             Q.   Okay.     So -- and is it 63 -- is it -- is
14     it a hundred?        Is the max someone could get was a
15     hundred percent?         I'm just trying to -- statistics
16     are a funny thing.
17                  MS. FITZPATRICK:            Objection to form,
18     misstates testimony.
19     BY MS. NASSIRI:
20             Q.   I'm trying to understand what this means.
21             A.   So -- so it means that yes, basically you
22     want to be -- you -- you want to be in a higher
23     percentile --
24             Q.   Okay.
25             A.   -- means -- which mean you performed

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 1     better.
 2             Q.   Sure.
 3             A.   So -- so they're in the 63rd percentile,
 4     basically, of their DSPs, which means that they're
 5     slightly better than average.                 So average would be
 6     50 --
 7             Q.   Okay.
 8             A.   -- percent.
 9             Q.   Is -- is -- is -- okay.
10                  So following week -- or -- or is this
11     just by station overall for this time period?
12             A.   Correct.      So the first row is only for
13     DAU1.
14             Q.   And where's DAU1, if you know?
15             A.   I believe that's Austin.
16             Q.   Okay.     And then DCH1, 17 DSPs operate out
17     of that station, and Scoobeez was the 47th
18     percentile?
19             A.   So slightly below average.
20             Q.   Okay.     So if we go to the bottom where it
21     says average -- the bottom of the chart on page 17
22     of your declaration, average 49.58.
23                  So what does this communicate to you
24     as -- in your -- in your role at Amazon of
25     Scoobeez' performance for this time period?

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 1           A.     It communicates they're almost virtually
 2     average.
 3           Q.     Okay.
 4           A.     So if -- you know, if we use 50 percent
 5     as average, so the total average line is all DSPs.
 6     So if we look at all stations --
 7           Q.     Not just these stations?
 8           A.     Yeah.     It's the -- sorry.            Sorry.   It's
 9     the average of the stations that they operate in in
10     all DSPs.
11           Q.     Okay.     And you said that these
12     percentiles come from the scorecards that were
13     introduced in or around Week 27?
14           A.     The -- the percentiles are just the
15     ranking of the scores from the scorecard.
16           Q.     Okay.
17                  MS. FITZPATRICK:            I -- I'm -- I'm sorry.
18     Can I ask a clarifying question?
19                  MS. NASSIRI:         Sure.
20                  MS. FITZPATRICK:            I'm not sure I'm
21     following.
22                  Are you saying that they -- their
23     performance was 49 percent or -- or in the case of
24     this DSX1, it was -- they're were at 39 percent on
25     their metrics or they performed worse than

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 1                  THE WITNESS:          What -- yeah.       What --
 2     what -- can you -- when you -- you say opportunity
 3     just --
 4     BY MS. NASSIRI:
 5           Q.     Sure.
 6           A.     -- I want to make sure I understand what
 7     you mean.
 8           Q.     So we can look at Exhibit -- the -- the
 9     document your declaration is in.
10           A.     Uh-huh.
11           Q.     On page 9 of that exhibit --
12                  MS. FITZPATRICK:             Are you talking about
13     the brief?
14     BY MS. NASSIRI:
15           Q.     I'm talking about the brief.                And I
16     realize you did not write this brief.
17                  MS. FITZPATRICK:             It's a legal document.
18     BY MS. NASSIRI:
19           Q.     Yeah, and there's -- it's a legal
20     document.
21                  MS. FITZPATRICK:             It's prepared by
22     counsel.
23                  MS. NASSIRI:          I understand.
24     BY MS. NASSIRI:
25           Q.     But your counsel represents on line 10

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 1     that there are -- because Amazon is prevented by
 2     the automatic stay from terminating the agreement,
 3     there are lost opportunity costs on Amazon.                   And I
 4     just want to understand, if you know, what those
 5     lost opportunity costs are.
 6                  MS. FITZPATRICK:            So take your time and
 7     read the context of the statement that it is
 8     written in.
 9     BY MS. NASSIRI:
10           Q.     Sure.     And I -- again, I know you didn't
11     write that.
12           A.     Okay.     Could you just ask the question
13     one more time to make sure I understand.
14           Q.     Sure.     Has Amazon lost opportunities by
15     maintaining Scoobeez in the system as a DSP?
16           A.     Well, the first thing I would say is that
17     they -- they -- you know, by the fact of being
18     involved in multiple litigations and the -- and the
19     determination of why we wanted to terminate them
20     along with the other 14 DSPs to begin with,
21     there -- there is, you know, risk associated with
22     that --
23           Q.     Sure.
24           A.     -- right?       So I would define opportunity
25     of having to continue to be dealing with that risk

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 1     of -- of a DSP you are not working with multiple
 2     litigations.
 3           Q.     Okay.
 4           A.     That would be one example.
 5           Q.     Okay.
 6           A.     Another example of an opportunity costs
 7     would be, you know, we from a capacity, planned
 8     to -- to -- you know, to not have them in our
 9     network.     And so we planned and recruited to have
10     other DSPs in the stations, that because Scoobeez
11     is still there, we're hindering their ability to
12     grow and scale their businesses.                     So that could be
13     another opportunity cost.
14           Q.     But -- but Amazon -- or, sorry, Scoobeez
15     is still in those stations --
16                  MS. FITZPATRICK:             Not sure --
17     BY MS. NASSIRI:
18           Q.     -- driving those routes that you had
19     slotted other DSPs to jump in and take over?
20           A.     That could potentially have been done.
21           Q.     Okay.
22           A.     That -- that would be another potential
23     example.
24                  MS. FITZPATRICK:             I'm not sure if he
25     finished his answer about --

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 1                  MS. NASSIRI:         Okay.       Go ahead.
 2                  MS. FITZPATRICK:            -- opportunity costs,
 3     if this were others.
 4                  THE WITNESS:         There's -- there's -- those
 5     are two examples that are coming to mind right now.
 6     BY MS. NASSIRI:
 7           Q.     If you think of any others while we're
 8     talking, you can let me know.
 9           A.     Sure.
10           Q.     Can you assign a dollar amount to those
11     lost opportunity costs?
12                  MS. FITZPATRICK:            Objection, calls for a
13     legal conclusion.
14                  THE WITNESS:         I -- I would -- I would be
15     speculating.
16     BY MS. NASSIRI:
17           Q.     Okay.     So just so I'm clear, and we can
18     kind of cut to the chase, the -- the reason why
19     Scoobeez is on -- was on the list that was created
20     on or about August 9th was because of the multiple
21     litigations and not because of performance; is that
22     right?
23           A.     Correct.
24           Q.     Okay.     What about compliance?             Was
25     compliance a basis for Scoobeez to be on a list for

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 1     termination?
 2           A.     For Scoobeez specifically?
 3           Q.     Yes.
 4           A.     No.
 5           Q.     In August of 2009 --
 6                  MS. FITZPATRICK:            August of 2009?
 7     BY MS. NASSIRI:
 8           Q.     I'm sorry, '19.           August of 2019, was
 9     there a plan to communicate to those 15 DSPs that
10     were on the list that they would be slotted for
11     termination?
12           A.     Yes.
13           Q.     Okay.     And what was that?
14           A.     What was the plan?
15           Q.     Yes.
16           A.     It was, I would say, multifaceted.
17           Q.     Okay.
18           A.     The 2.0 agreement -- one provision of the
19     2.0 agreement is there's the concept of a renewal.
20           Q.     Okay.
21           A.     And so once a year, we can choose not to
22     renew a 2.0 agreement of any reason -- for any
23     reason.
24           Q.     Okay.
25           A.     And --

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 1     wage-an-hour litigations wouldn't be cause under
 2     the 2.0 agreement for termination?
 3           A.     No.      Just -- just I think mainly because
 4     it's cleaner to communicate a nonrenewal than to
 5     terminate.
 6           Q.     Okay.
 7           A.     So I just think it's cleaner.
 8                  And so that was the first bucket we
 9     focused on.        And then there are many buckets for
10     1.0s that we could terminate at any time.
11           Q.     Okay.      Have all the 1.0s on that list
12     been terminated other than Scoobeez?
13           A.     They have been communicated -- the
14     decision to communicate -- to terminate them.
15           Q.     Okay.      In August of -- or do you know
16     when Scoobeez first learned that it was on the list
17     to be terminated by Amazon?
18                  MS. FITZPATRICK:             Objection, calls for
19     speculation.
20                  THE WITNESS:          I -- I can assume when it
21     would be.        My assumption would be when we called
22     them on October 7th and told them.
23     BY MS. NASSIRI:
24           Q.     Okay.      Do you know why the gap between
25     August and October?

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 1           A.     Mainly what I referred to before was that
 2     we were focused on -- we were focused on the
 3     nonrenewals to begin with, and there was no time
 4     urgency --
 5           Q.     Okay.
 6           A.     -- to communicate a decision to a 1.0.
 7           Q.     Okay.     Was the fact that Scoobeez is in
 8     bankruptcy, that -- was the fact that Scoobeez was
 9     in bankruptcy a determining factor as to when you
10     would communicate with them about their
11     termination?
12           A.     I'm going to -- I'm going to slightly
13     rephrase that question.
14           Q.     Sure.
15           A.     And we were counseled -- basically --
16           Q.     Don't -- yeah, I don't I want to hear
17     anything your counsel told you.
18           A.     Got it.
19           Q.     But just a yes or no.
20                  Was the -- the fact that Scoobeez was in
21     bankruptcy, did that impact the timing of when you
22     were going to communicate to Scoobeez that they
23     were on list to be terminated?
24                  MS. FITZPATRICK:            Objection to form.
25                  You can answer if you understand the

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 1     was.    And I -- I think Mr. Wilson's testified
 2     repeatedly today that the reason for termination
 3     had to do with the number of litigations.
 4                  MS. NASSIRI:         Yes.      Okay.
 5     BY MS. NASSIRI:
 6            Q.    Do you know the amount of costs that
 7     Amazon has incurred because of the -- the Scoobeez
 8     multiple litigations?
 9            A.    I do not know.
10            Q.    Do you know who would know that?
11            A.    I would be speculating.
12            Q.    Who would you speculate would know that
13     answer?
14            A.    Legal counsel.
15            Q.    Okay.     With respect to the three wage an
16     hour or employment -- or employment-related
17     actions, which I'll represent to you one of them
18     has been dismissed, so there is two remaining, but
19     with respect to the three that -- that were
20     referenced in the proofs of claim, do you have --
21     do you know whether Amazon's reputation has been
22     harmed because of these actions?
23                  MS. FITZPATRICK:            Objection; vague, calls
24     for speculation.
25                  THE WITNESS:         Can you -- can you ask that

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 1     question -- so do I -- do I know --
 2     BY MS. NASSIRI:
 3           Q.     Has Amazon's reputation been harmed
 4     because Scoobeez is involved in these wage an
 5     hour/employment-related actions?
 6                  MS. FITZPATRICK:            Same objections.
 7                  THE WITNESS:         I -- I -- I would be
 8     speculating.        In general, our position is what I
 9     have shared before on -- on litigation and -- and
10     the costs of that and the risks of that.
11     BY MS. NASSIRI:
12           Q.     Okay.     So I -- I just want to make sure
13     we have this clear.
14                  The reason the multiple litigations --
15     well, let's go back.
16                  If there was just one wage an hour action
17     or employment action against a DSP, would that put
18     them on the -- a list for termination?
19           A.     Through the framework we did on August 9?
20           Q.     Yes.
21           A.     No.
22           Q.     Okay.     So is there a -- what's the --
23     would two be sufficient to put them on the list
24     based on your August 9th framework?
25           A.     Yes.

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 1     hypothetical, misstates testimony, lacks
 2     foundation, vague.
 3                  THE WITNESS:         I don't -- I'm not totally
 4     understanding the question.
 5     BY MS. NASSIRI:
 6             Q.   So I'm just saying if -- if -- if --
 7     let's put the litigations aside.
 8                  If we put the litigations aside, based on
 9     everything you've testified today, they would not
10     have been on your August 9th exit termination list?
11             A.   So if -- if Scoobeez had never been
12     involved in multiple litigations --
13             Q.   Yes.
14             A.   -- they would not have been slated for
15     exit on the August 9th decision.                     I -- I agree with
16     that.
17             Q.   Okay.
18             A.   Correct.
19             Q.   And at that time, on August 9th, there
20     were no other termination lists that we discussed
21     here today that Scoobeez was on?
22             A.   The -- the -- the framework we used
23     evolved over time.
24             Q.   I understand.
25             A.   Scoobeez pretty much popped on every

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 1                        REPORTER'S DECLARATION
       STATE OF NEVADA)
 2     COUNTY OF CLARK)
             I, Lisa Makowski, CCR No. 345, declare as
 3     follows:
 4           That I reported the taking of the deposition of
 5     the witness, JAMES WILSON, commencing on Tuesday,
 6     January 28, 2020, at the hour of 10:09 a.m.
 7           That prior to being examined, the witness was by
 8     me duly sworn to testify to the truth, the whole
 9     truth, and nothing but the truth; that, before the
10     proceedings' completion, the reading and signing of
11     the deposition has been requested by the deponent or
12     a party.
13           That I thereafter transcribed said shorthand
14     notes into typewriting and that the typewritten
15     transcript of said deposition is a complete, true and
16     accurate transcription of said shorthand notes taken
17     down at said time.
18           I further declare that I am not a relative or
19     employee of any party involved in said action, nor a
20     person financially interested in the action.
21           Dated at Las Vegas, Nevada this 7th day of
22     February, 2020.
23
24           <%16490,Signature%>
25           Lisa Makowski, CCR 345

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